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       EXHIBIT 3




                                                         Exhibit 3 at 000001
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                                                         Exhibit 3 at 000002
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                                                         Exhibit 3 at 000003
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                                                         Exhibit 3 at 000004
